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 5                      UNITED STATES DISTRICT COURT
 6                 FOR THE CENTRAL DISTRICT OF CALIFORNIA

 7
 8 Remi Paola Vargas,                       Case No. 5:23-cv-02494-BFM

 9              Plaintiff,                  ORDER FOR STIPULATION FOR
10                                          THE AWARD AND PAYMENT OF
                       v.                   ATTORNEY FEES AND
11                                          EXPENSES PURSUANT TO THE
12 Martin O’Malley, Commissioner of         EQUAL ACCESS TO JUSTICE
   Social Security,                         ACT
13
14            Defendant.

15
16         Based upon the parties’ Stipulation for the Award and Payment of Equal Access
17
     to Justice Act Fees and Expenses, IT IS ORDERED that fees and expenses in the
18
19 amount of ONE THOUSAND SIXTY-EIGHT DOLLARS and 23/100 ($1,068.23) as
20 authorized by 28 U.S.C. § 2412 be awarded subject to the terms of the Stipulation.
21
         IT IS SO ORDERED.
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23
24
         May 1, 2024
25 DATE:________________                  _______________________________
                                          HON. BRIANNA FULLER MIRCHEFF
26
                                          UNITED STATES MAGISTRATE JUDGE
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